     Case 3:04-cr-05350-RBL     Document 367      Filed 09/13/05   Page 1 of 2




                                                             Judge Leighton


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF WASHINGTON
                              AT TACOMA


UNITED STATES OF AMERICA,                   No.    CR 04-5350RBL
               Plaintiff,
                                            ORDER AUTHORIZING
                                            WITHDRAWAL OF GUILTY PLEA
Vs.                                         AND SETTING FOR TRIAL

Timothy Dillon, et al,
                     Defendants.




     ___________________________________________________________


        THIS MATTER having come before the above-entitled court upon the

Motion of the defendant requesting that the guilty plea entered on April 21, 2005

be withdrawn and court finding that

1.      The defendant’s guilty plea has not been accepted by this court; and

2.      The defendant made a timely request to withdraw his guilty plea; and




Order Authorizing Withdrawal of
Guilty Plea and Setting Trial           1
     Case 3:04-cr-05350-RBL      Document 367     Filed 09/13/05   Page 2 of 2




3.      Federal Rule of Criminal Procedure 11(d)(1) applies to the defendant’s

        request; now, therefore it is hereby

ORDERED that the defendant’s Motion to Withdraw Guilty Plea is granted. The

new Trial Date is October 24, 2005 at 9:30 a.m. The Pretrial Conference date is

October 18, 2005 at 9:00 and the new motions cutoff date is September 28.

2005.


Dated this 12th Day of September.

                                   A
                                   Ronald B. Leighton
                                   United States District Judge




Presented by:




_/s/______________________

Thomas A. Campbell
Attorney for Defendant




Order Authorizing Withdrawal of
Guilty Plea and Setting Trial             2
